Case 1:16-cv-00104-TH-ZJH Document 28 Filed 03/13/17 Page 1 of 1 PageID #: 167




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

 ERICK LAWSON                                   §

 VS.                                            §               CIVIL ACTION NO. 1:16cv104

 WILLIAM STEPHENS, ET AL.                       §

                                             ORDER

        Pending before the court is plaintiff’s motion for a copy of the complaint (docket entry

 no. 27). Plaintiff requests to be provided a copy of his original complaint so he may seek relief

 in the United States District Court for the Northern District of Texas. After due consideration,

 the court is of the opinion that same should be granted. It is therefore

        ORDERED that plaintiff’s motion for a copy of the original complaint is GRANTED.

 The Clerk of Court is DIRECTED to copy and forward to plaintiff a copy of his original

 complaint and any attachments (docket entry no. 1) submitted in the above-styled action.

 Accordingly, it is

        ORDERED that plaintiff’s motions for reconsideration (docket entry nos. 24, 25, and

 26) are deemed WITHDRAWN.

         SIGNED this 13th day of March, 2017.




                                                       _________________________
                                                       Zack Hawthorn
                                                       United States Magistrate Judge
